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 8   MINNESOTA LIFE INSURANCE COMPANY
 9
10                                  UNITED STATES DISTRICT COURT
11                                 CENTRAL DISTRICT OF CALIFORNIA
12   KOLETTE A. PAGE and CLETUS M.                  Case No.: 8:18-cv-01208
13   PAGE, individually and on behalf of their
     individual retirement accounts,                Assigned to the Honorable Andrew J.
14                                                  Guilford - Dept 10D
                      Plaintiff,
15                                                  DEFENDANT MINNESOTA LIFE
             v.                                     INSURANCE COMPANY’S
16                                                  ANSWER TO PLAINTIFFS’
     MINNESOTA LIFE INSURANCE                       COMPLAINT
17   COMPANY, a Minnesota corporation;
     SHURWEST HOLDING COMPANY,
18   INC., an Arizona corporation; SHURWEST,
     LLC, an Arizona limited liability company; Complaint filed: July 9, 2018
19   HAPPY STATE BANK & TRUST                   Trial date:      None set
     COMPANY dba GOLDSTAR TRUST
20   COMPANY, a Texas business entity
     (corporate status unknown); FUTURE
21   INCOME PAYMENTS, LLC, a Delaware
     limited liability company; CMAM, INC. dba
22   HERITAGE FINANCIAL SERVICES, a
     California corporation; ALBERT ANDREW
23   MANFRE, an individual; JEANETTE
     MANFRE, an individual; MATTHEW LEE
24   BIESER, an individual; and DOES 1-10,
     inclusive,,
25
                      Defendant.
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         DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
     [DOC ID] LEGAL02/38291959v3
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 1         Defendant Minnesota Life Insurance Company (“Minnesota Life”), by and
 2   through its undersigned counsel of record, hereby specifically answers the Complaint
 3   of Plaintiffs Kolette A. Page and Cletus M. Page (collectively “Plaintiffs”) in the
 4   above-captioned matter and assert defenses as follows:
 5                             I.    SUMMARY OF CLAIMS
 6         1.     Minnesota Life denies the allegations contained in paragraph 1 of the
 7   Complaint.
 8         2.     Minnesota Life denies the allegations contained in paragraph 2 of the
 9   Complaint.
10         3.     Minnesota Life denies the allegations contained in paragraph 3 of the
11   Complaint.
12         4.     Minnesota Life denies the allegations contained in paragraph 4 of the
13   Complaint.
14         5.     Minnesota Life denies the allegations contained in paragraph 5 of the
15   Complaint.
16         6.     Minnesota Life denies the allegations contained in paragraph 6 of the
17   Complaint.
18         7.     The allegations in paragraph 7 are legal conclusions to which a response
19   is neither appropriate nor required. To the extent a response is required, Minnesota
20   Life denies the allegations contained in paragraph 7 of the Complaint.
21         8.     The allegations in paragraph 8 are legal conclusions to which a response
22   is neither appropriate nor required. To the extent a response is required, Minnesota
23   Life denies the allegations contained in paragraph 8 of the Complaint.
24         9.     The allegations in paragraph 9 are legal conclusions to which a response
25   is neither appropriate nor required. To the extent a response is required, Minnesota
26   Life denies the allegations contained in paragraph 9 of the Complaint.
27         10.    Minnesota Life denies the allegations contained in paragraph 10 of the
28   Complaint.

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 1                                       II.    PARTIES
 2         11.      Paragraph 11 does not set forth an allegation asserted against Minnesota
 3   Life and therefore, no response is required. To the extent a response is required,
 4   Minnesota Life is without knowledge or information sufficient to respond to the
 5   allegations contained in paragraph 11 of the Complaint and, on that basis, denies the
 6   allegations.
 7         12.      Minnesota Life admits that it is an insurance company headquartered in
 8   Minnesota and that defendants Albert, Jeanette and Bieser were appointed to sell life
 9   insurance for Minnesota Life. Minnesota Life denies the remaining allegations
10   contained in paragraph 12 of the Complaint.
11         13.      Paragraph 13 does not set forth an allegation against Minnesota Life and,
12   therefore, no response is required. To the extent a response is required, Minnesota
13   Life is without knowledge or information sufficient to respond to the allegations
14   contained in paragraph 13 of the Complaint and, on that basis, denies the allegations.
15         14.      Paragraph 14 does not set forth an allegation against Minnesota Life and,
16   therefore, no response is required. To the extent a response is required, Minnesota
17   Life is without knowledge or information sufficient to respond to the allegations
18   contained in paragraph 14 of the Complaint and, on that basis, denies the allegations.
19         15.      Paragraph 15 does not set forth an allegation against Minnesota Life and,
20   therefore, no response is required. To the extent a response is required, Minnesota
21   Life is without knowledge or information sufficient to respond to the allegations
22   contained in paragraph 15 of the Complaint and, on that basis, denies the allegations.
23         16.      Paragraph 16 does not set forth an allegation against Minnesota Life and,
24   therefore, no response is required. To the extent a response is required, Minnesota
25   Life is without knowledge or information sufficient to respond to the allegations
26   contained in paragraph 16 of the Complaint and, on that basis, denies the allegations.
27         17.      Minnesota Life admits that Albert Andrew Manfre was appointed to sell
28   life insurance for Minnesota Life. As to the remaining allegations in paragraph 17,

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 1   Minnesota Life is without knowledge or information sufficient to respond, and on that
 2   basis, denies the allegations.
 3         18.      Minnesota Life admits that Jeannette Manfre was appointed to sell life
 4   insurance for Minnesota Life. As to the remaining allegations in paragraph 18,
 5   Minnesota Life is without knowledge or information sufficient to respond, and on that
 6   basis, denies the allegations.
 7         19.      Minnesota Life admits that Matthew Lee Bieser was appointed to sell life
 8   insurance for Minnesota Life. As to the remaining allegations in paragraph 19,
 9   Minnesota Life is without knowledge or information sufficient to respond, and on that
10   basis, denies the allegations.
11         20.      Paragraph 20 does not set forth an allegation asserted against Minnesota
12   Life and therefore, no response is required. To the extent a response is required,
13   Minnesota Life is without knowledge or information sufficient to respond to the
14   allegations contained in paragraph 20 of the Complaint and, on that basis, denies the
15   allegations.
16         21.      Minnesota Life denies the allegations contained in paragraph 21 of the
17   Complaint.
18         22.      Minnesota Life denies the allegations contained in paragraph 22 of the
19   Complaint.
20                             III.   JURISDICTION AND VENUE
21         23.      Minnesota Life admits the allegations contained in paragraph 23 of the
22   Complaint.
23         24.      Minnesota Life admits the allegations contained in paragraph 24 of the
24   Complaint.
25         25.      Minnesota Life is without knowledge or information sufficient to respond
26   to the allegations contained in paragraph 25 of the Complaint and, on that basis,
27   denies the allegations.
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        DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1          26.     The allegations in paragraph 26 are legal conclusions to which a response
 2   is neither appropriate nor required.
 3                                 IV.   OPERATIVE FACTS
 4          27.     Minnesota Life is without knowledge or information sufficient to respond
 5   to the allegations contained in paragraph 27 of the Complaint and, on that basis,
 6   denies the allegations.
 7          28.     Minnesota Life is without knowledge or information sufficient to respond
 8   to the allegations contained in paragraph 28 of the Complaint and, on that basis,
 9   denies the allegations.
10          29.     Minnesota Life responds that California Ins. Code § 785.4 speaks for
11   itself as to its contents.
12          30.     Minnesota Life denies the allegation in paragraph 30 that it knew or
13   should have known of the purported Section 785.4 violations by defendants Heritage,
14   Albert, Jeanette, Shurwest and Bieser. Minnesota Life is without knowledge or
15   information sufficient to respond to the remaining allegations in paragraph 30 of the
16   Complaint and, on that basis, denies the allegations.
17          31.     Minnesota Life denies the allegations made in paragraph 31 relating to
18   Minnesota Life. Minnesota Life is without knowledge or information sufficient to
19   respond to the remaining allegations contained in paragraph 31 of the Complaint and,
20   on that basis, denies the allegations.
21          32.     Minnesota Life is without knowledge or information sufficient to respond
22   to the allegations in paragraph 32 of the Complaint and, on that basis, denies the
23   allegations.
24          33.     Minnesota Life specifically denies that it engaged in “aggressive and
25   deceptive sales tactics.” Minnesota Life is without knowledge or information to
26   respond to the remaining allegations in paragraph 33 and, on that basis, denies the
27   allegations.
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        DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1         34.      Minnesota Life is without knowledge or information sufficient to respond
 2   to the allegations in paragraph 34 of the Complaint and, on that basis, denies the
 3   allegations.
 4         35.      Minnesota Life is without knowledge or information sufficient to respond
 5   to the allegations in paragraph 35 of the Complaint and, on that basis, denies the
 6   allegations.
 7         36.      Minnesota Life is without knowledge or information sufficient to respond
 8   to the allegations in paragraph 36 of the Complaint and, on that basis, denies the
 9   allegations.
10         37.      Minnesota Life is without knowledge or information sufficient to respond
11   to the allegations in paragraph 37 of the Complaint and, on that basis, denies the
12   allegations.
13         38.      Minnesota Life admits Plaintiff Kolette A. Page applied for and was
14   issued a Minnesota Life “Omega Builder Indexed Universal Life” insurance policy
15   (policy no. xxx6081W) with a death benefit of $2 million and a premium of $113,539
16   due annually. Minnesota Life is without knowledge or information sufficient to
17   respond to the remaining allegations in paragraph 38 of the Complaint and, on that
18   basis, denies the allegations.
19         39.      Minnesota Life is without knowledge or information sufficient to respond
20   to the allegations in paragraph 39 of the Complaint and, on that basis, denies the
21   allegations.
22         40.      Minnesota Life admits Plaintiff Cletus M. Page applied for and was
23   issued a Minnesota Life “Omega Builder Indexed Universal Life” insurance policy
24   (policy no. xxx9788W) with a death benefit of $1.8 million and a premium of
25   $185,705 due annually. Minnesota Life is without knowledge or information
26   sufficient to respond to the remaining allegations in paragraph 40 of the Complaint
27   and, on that basis, denies the allegations.
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        DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1         41.      Minnesota Life is without knowledge or information sufficient to respond
 2   to the allegations in paragraph 41 of the Complaint and, on that basis, denies the
 3   allegations.
 4         42.      Minnesota Life is without knowledge or information sufficient to respond
 5   to the allegations in paragraph 42 of the Complaint and, on that basis, denies the
 6   allegations.
 7         43.      Minnesota Life is without knowledge or information sufficient to respond
 8   to the allegations in paragraph 43 of the Complaint and, on that basis, denies the
 9   allegations.
10         44.      Paragraph 44 contains legal conclusions to which a response is neither
11   appropriate nor required. To the extent a response is required, Minnesota Life denies
12   the allegations contained in paragraph 44 of the Complaint.
13         45.      Minnesota Life denies the allegations in paragraph 45 of the Complaint
14   relating to Minnesota Life. The allegations in paragraph 45 also consist of legal
15   conclusions to which a response is neither appropriate nor required. Minnesota Life is
16   without knowledge or information sufficient to respond to the remaining allegations in
17   paragraph 45 of the Complaint and, on that basis, denies the allegations.
18         46.      Minnesota Life denies the allegations contained in paragraph 46 of the
19   Complaint.
20         47.      Minnesota Life is without knowledge or information sufficient to respond
21   to the allegations in paragraph 47 of the Complaint and, on that basis, denies the
22   allegations.
23         48.      Minnesota Life admits that Albert Andrew Manfre, Jeannette Manfre,
24   and Matthew Lee Bieser were appointed to sell life insurance for Minnesota Life.
25   Minnesota Life denies the remaining allegations contained in paragraph 48 of the
26   Complaint.
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        DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1         49.    Minnesota Life admits that it is an insurance company and that it sells
 2   permanent life insurance. The remaining allegations in paragraph 49 contain legal
 3   conclusions to which a response is neither appropriate nor required.
 4         50.    Paragraph 50 contains legal conclusions to which a response is neither
 5   appropriate nor required.
 6         51.    Paragraph 51 contains legal conclusions to which a response is neither
 7   appropriate nor required. Minnesota Life denies the remaining allegations contained
 8   in paragraph 51 of the Complaint.
 9         52.    Paragraph 52 contains legal conclusions to which a response is neither
10   appropriate nor required. To the extent a response is required, Minnesota Life denies
11   the allegations contained in paragraph 52 of the Complaint.
12         53.    Minnesota Life admits that Plaintiffs’ Minnesota Life policies called for a
13   combined annual premium of nearly $300,000.00 and denies the remaining allegations
14   contained in paragraph 53 of the Complaint.
15         54.    Minnesota Life denies the allegations contained in paragraph 54 of the
16   Complaint.
17         55.    Minnesota Life is without knowledge or information sufficient to respond
18   to the allegations contained in paragraph 55 of the Complaint and, on that basis,
19   denies the allegations.
20         56.    Minnesota Life is without knowledge or information sufficient to respond
21   to the allegations contained in paragraph 56 of the Complaint and, on that basis,
22   denies the allegations.
23         57.    Minnesota Life is without knowledge or information sufficient to respond
24   to the allegations contained in paragraph 57 of the Complaint and, on that basis,
25   denies the allegations.
26         58.    Minnesota Life is without knowledge or information sufficient to respond
27   to the allegations contained in paragraph 58 of the Complaint and, on that basis,
28   denies the allegations.

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 1         59.    Minnesota Life is without knowledge or information sufficient to respond
 2   to the allegations contained in paragraph 59 of the Complaint and, on that basis,
 3   denies the allegations.
 4         60.    Minnesota Life is without knowledge or information sufficient to respond
 5   to the allegations contained in paragraph 60 of the Complaint and, on that basis,
 6   denies the allegations.
 7         61.    Minnesota Life is without knowledge or information sufficient to respond
 8   to the allegations contained in paragraph 61 of the Complaint and, on that basis,
 9   denies the allegations.
10         62.    Minnesota Life is without knowledge or information sufficient to respond
11   to the allegations contained in paragraph 62 of the Complaint and, on that basis,
12   denies the allegations.
13         63.    Minnesota Life denies the allegations in paragraph 63 relating to
14   Minnesota Life. Minnesota Life is without knowledge or information sufficient to
15   respond to the remaining allegations contained in paragraph 63 of the Complaint and,
16   on that basis, denies the allegations.
17         64.    Minnesota Life is without knowledge or information sufficient to respond
18   to the allegations contained in paragraph 64 of the Complaint and, on that basis,
19   denies the allegations.
20         65.    Minnesota Life is without knowledge or information sufficient to respond
21   to the allegations contained in paragraph 65 of the Complaint and, on that basis,
22   denies the allegations.
23         66.    The allegations in paragraph 66 are legal conclusions to which a response
24   is neither appropriate nor required. To the extent a response is required, Minnesota
25   Life denies the allegations contained in paragraph 66 of the Complaint.
26         67.    Minnesota Life denies the allegations in paragraph 67 of the Complaint
27   relating to Minnesota Life. Minnesota Life is without knowledge or information
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        DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1   sufficient to respond to the remaining allegations contained in paragraph 67 of the
 2   Complaint and, on that basis, denies the allegations.
 3         68.    Minnesota Life denies the allegations made in paragraph 68 of the
 4   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
 5   information sufficient to respond to the remaining allegations contained in paragraph
 6   68 of the Complaint and, on that basis, denies the allegations.
 7         69.    Minnesota Life denies the allegations contained in paragraph 69 of the
 8   Complaint.
 9         70.    Minnesota Life is without knowledge or information sufficient to respond
10   to the allegations contained in paragraph 70 of the Complaint and, on that basis,
11   denies the allegations.
12         71.    Minnesota Life denies the allegations in paragraph 71 of the Complaint
13   relating to Minnesota Life. Minnesota Life is without knowledge or information
14   sufficient to respond to the remaining allegations contained in paragraph 71 of the
15   Complaint and, on that basis, denies the allegations.
16         72.    Minnesota Life is without knowledge or information sufficient to respond
17   to the allegations contained in paragraph 72 of the Complaint and, on that basis,
18   denies the allegations.
19         73.    Minnesota Life is without knowledge or information sufficient to respond
20   to the allegations contained in paragraph 73 of the Complaint and, on that basis,
21   denies the allegations.
22         74.    Minnesota Life is without knowledge or information sufficient to respond
23   to the allegations contained in paragraph 74 of the Complaint and, on that basis,
24   denies the allegations.
25         75.    Minnesota Life is without knowledge or information sufficient to respond
26   to the allegations contained in paragraph 75 of the Complaint and, on that basis,
27   denies the allegations.
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 1         76.    Minnesota Life is without knowledge or information sufficient to respond
 2   to the allegations contained in paragraph 76 of the Complaint and, on that basis,
 3   denies the allegations.
 4         77.    Minnesota Life is without knowledge or information sufficient to respond
 5   to the allegations contained in paragraph 77 of the Complaint and, on that basis,
 6   denies the allegations.
 7         78.    Minnesota Life is without knowledge or information sufficient to respond
 8   to the allegations contained in paragraph 78 of the Complaint and, on that basis,
 9   denies the allegations.
10         79.    Minnesota Life is without knowledge or information sufficient to respond
11   to the allegations contained in paragraph 79 of the Complaint and, on that basis,
12   denies the allegations.
13         80.    Minnesota Life is without knowledge or information sufficient to respond
14   to the allegations contained in paragraph 80 of the Complaint and, on that basis,
15   denies the allegations.
16         81.    Paragraph 81 contains legal conclusions to which a response is neither
17   appropriate nor required. To the extent a response is required, Minnesota Life denies
18   those allegations contained in paragraph 81 of the Complaint. Minnesota Life is
19   without knowledge or information sufficient to respond to the remaining allegations
20   contained in paragraph 81 of the Complaint and, on that basis, denies the allegations.
21                               V.    CLAIMS FOR RELIEF
22                               FIRST CLAIM FOR RELIEF
23   (VIOLATION OF THE FEDERAL SECURITIES ACT BY ALL PLAINTIFFS
24                 AGAINST ALL DEFENDANTS AND DOES 1 AND 2)
25         82.    Minnesota Life incorporates by reference its responses to paragraph 1
26   through 81 of the Complaint as if set forth fully herein.
27         83.    Paragraph 83 contains legal conclusions to which a response is neither
28   appropriate nor required.

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 1         84.    Minnesota Life denies the allegations in paragraph 84 of the Complaint
 2   relating to Minnesota Life. Minnesota Life is without knowledge or information
 3   sufficient to respond to the remaining allegations contained in paragraph 84 of the
 4   Complaint and, on that basis, denies the allegations.
 5         85.    Minnesota Life denies the allegations in paragraph 85 of the Complaint
 6   relating to Minnesota Life. Minnesota Life is without knowledge or information
 7   sufficient to respond to the remaining allegations contained in paragraph 85 of the
 8   Complaint and, on that basis, denies the allegations.
 9         86.     Minnesota Life denies the allegations in paragraph 86 of the Complaint
10   relating to Minnesota Life. Minnesota Life is without knowledge or information
11   sufficient to respond to the remaining allegations contained in paragraph 86 of the
12   Complaint and, on that basis, denies the allegations.
13         87.    Paragraph 87 contains legal conclusions to which a response is neither
14   appropriate nor required.
15         88.    Paragraph 88 contains legal conclusions to which a response is neither
16   appropriate nor required. To the extent a response is required, Minnesota Life denies
17   the allegations contained in paragraph 88 of the Complaint.
18                               SECOND CLAIM FOR RELIEF
19     (BREACH OF FIDUCIARY DUTY BY ALL PLAINTIFFS AGAINST ALL
20                           DEFENDANTS AND DOES 3 TO 5)
21         89.    Minnesota Life incorporates by reference its responses to paragraph 1
22   through 88 of the Complaint as if set forth fully herein.
23         90.    Paragraph 90 contains legal conclusions to which a response is neither
24   appropriate nor required. To the extent a response is required, Minnesota Life denies
25   the allegations contained in paragraph 90 of the Complaint.
26         91.    Paragraph 91 contains legal conclusions to which a response is neither
27   appropriate nor required. To the extent a response is required, Minnesota Life denies
28   the allegations contained in paragraph 91 of the Complaint.

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 1         92.    Paragraph 92 contains legal conclusions to which a response is neither
 2   appropriate nor required. To the extent a response is required, Minnesota Life denies
 3   the allegations contained in paragraph 92 of the Complaint.
 4         93.    Minnesota Life is without knowledge or information sufficient to respond
 5   to the allegations contained in paragraph 93 of the Complaint and, on that basis,
 6   denies the allegations.
 7         94.    Paragraph 94 contains legal conclusions to which a response is neither
 8   appropriate nor required. To the extent a response is required, Minnesota Life denies
 9   the allegations contained in paragraph 105 of the Complaint.
10         95.    Paragraph 95 contains legal conclusions to which a response is neither
11   appropriate nor required. To the extent a response is required, Minnesota Life denies
12   the allegations contained in paragraph 95 of the Complaint.
13         96.    Paragraph 96 contains legal conclusions to which a response is neither
14   appropriate nor required. To the extent a response is required, Minnesota Life denies
15   the allegations contained in paragraph 96 of the Complaint.
16         97.    Paragraph 97 contains legal conclusions to which a response is neither
17   appropriate nor required. To the extent a response is required, Minnesota Life denies
18   the allegations contained in paragraph 97 of the Complaint.
19                              THIRD CLAIM FOR RELIEF
20       (AIDING AND ABETTING BREACH OF FIDUCIARY DUTY BY ALL
21         PLAINTIFFS AGAINST ALL DEFENDANTS AND DOES 6 AND 7)
22         98.    Minnesota Life incorporates by reference its responses to paragraph 1
23   through 97 of the Complaint as if set forth fully herein.
24         99.    Minnesota Life denies the allegations contained in paragraph 99 of the
25   Complaint.
26         100. Minnesota Life denies the allegations contained in paragraph 100 relating
27   to Minnesota Life. Minnesota Life is without knowledge or information sufficient to
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 1   respond to the remaining allegations contained in paragraph 100 of the Complaint and,
 2   on that basis, denies the allegations.
 3         101. Paragraph 101 contains legal conclusions to which a response is neither
 4   appropriate nor required. To the extent a response is required, Minnesota Life denies
 5   the allegations contained in paragraph 101 of the Complaint.
 6         102. Paragraph 102 contains legal conclusions to which a response is neither
 7   appropriate nor required. To the extent a response is required, Minnesota Life denies
 8   the allegations contained in paragraph 102 of the Complaint.
 9         103. Paragraph 103 contains legal conclusions to which a response is neither
10   appropriate nor required. To the extent a response is required, Minnesota Life denies
11   the allegations contained in paragraph 103 of the Complaint.
12                             FOURTH CLAIM FOR RELIEF
13      (FINANCIAL ELDER ABUSE BY PLAINTIFF CLETUS AGAINST ALL
14                           DEFENDANTS AND DOES 1 TO 10)
15         104. Minnesota Life incorporates by reference its responses to paragraph 1
16   through 103 of the Complaint as if set forth fully herein.
17         105. Paragraph 105 contains legal conclusions to which a response is neither
18   appropriate nor required. To the extent a response is required, Minnesota Life denies
19   the allegations contained in paragraph 105 of the Complaint.
20         106. Paragraph 106 contains legal conclusions to which a response is neither
21   appropriate nor required. To the extent a response is required, Minnesota Life denies
22   the allegations contained in paragraph 106 of the Complaint.
23         107. Paragraph 107 contains legal conclusions to which a response is neither
24   appropriate nor required. To the extent a response is required, Minnesota Life denies
25   the allegations contained in paragraph 107 of the Complaint.
26         108. Minnesota Life denies the allegations made in paragraph 108 of the
27   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
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 1   information sufficient to respond to the remaining allegations contained in paragraph
 2   108 of the Complaint and, on that basis, denies the allegations.
 3          109. Paragraph 109 contains legal conclusions to which a response is neither
 4   appropriate nor required.
 5          110. Paragraph 110 contains legal conclusions to which a response is neither
 6   appropriate nor required.
 7                               FIFTH CLAIM FOR RELIEF
 8      (VIOLATION OF THE CALIFORNIA CORPORATIONS CODE BY ALL
 9         PLAINTIFFS AGAINST ALL DEFENDANTS AND DOES 1 AND 2)
10          111. Minnesota Life incorporates by reference its responses to paragraph 1
11   through 110 of the Complaint as if set forth fully herein.
12          112. Paragraph 112 contains legal conclusions to which a response is neither
13   appropriate nor required. To the extent a response is required, Minnesota Life denies
14   the allegations contained in paragraph 112 of the Complaint.
15          113. Minnesota Life responds that Cal Corp. Code §§ 25100 to 25130 speak
16   for themselves as to their contents.
17          114. Minnesota Life responds that Cal Corp. Code § 25211 speaks for itself as
18   to its contents.
19          115. Minnesota Life responds that Cal Corp. Code § 25401 speaks for itself as
20   to its contents.
21          116. Minnesota Life responds that Cal Corp. Code § 25501 speaks for itself as
22   to its contents.
23          117. Minnesota Life responds that Cal Corp. Code § 25501.5 speaks for itself
24   as to its contents.
25          118. Minnesota Life denies the allegations made in paragraph 118 of the
26   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
27   information sufficient to respond to the remaining allegations contained in paragraph
28   118 of the Complaint and, on that basis, denies the allegations.

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 1          119. Minnesota Life is without knowledge or information sufficient to respond
 2   to the allegations contained in paragraph 119 of the Complaint and, on that basis,
 3   denies the allegations.
 4          120. Minnesota Life denies the allegations made in paragraph 120 of the
 5   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
 6   information sufficient to respond to the remaining allegations contained in paragraph
 7   120 of the Complaint and, on that basis, denies the allegations.
 8          121. Paragraph 121 contains legal conclusions to which a response is neither
 9   appropriate nor required. To the extent a response is required, Minnesota Life denies
10   the allegations contained in paragraph 121 of the Complaint.
11          122. Paragraph 122 contains legal conclusions to which a response is neither
12   appropriate nor required.
13          123. Paragraph 123 contains legal conclusions to which a response is neither
14   appropriate nor required. To the extent a response is required, Minnesota Life denies
15   the allegations contained in paragraph 123 of the Complaint.
16          124. Paragraph 124 contains legal conclusions to which a response is neither
17   appropriate nor required. To the extent a response is required, Minnesota Life denies
18   the allegations contained in paragraph 124 of the Complaint.
19                               SIXTH CLAIM FOR RELIEF
20   (VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
21   (“CLRA”) BY ALL PLAINTIFFS AGAINST ALL DEFENDANTS AND DOES
22                         1 TO 10) (INJUNCTIVE RELIEF ONLY)
23          125. Minnesota Life incorporates by reference its responses to paragraph 1
24   through 125 of the Complaint as if set forth fully herein.
25          126. Minnesota Life responds that Cal Civ. Code § 1770(a) speaks for itself as
26   to its contents.
27          127. Minnesota Life denies the allegations made in paragraph 127 of the
28   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or

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 1   information sufficient to respond to the remaining allegations contained in paragraph
 2   127 of the Complaint and, on that basis, denies the allegations.
 3          128. Minnesota Life is without knowledge or information sufficient to respond
 4   to the allegations contained in paragraph 128 of the Complaint and, on that basis,
 5   denies the allegations.
 6          129. Minnesota Life is without knowledge or information sufficient to respond
 7   to the allegations contained in paragraph 129 of the Complaint and, on that basis,
 8   denies the allegations.
 9          130. Minnesota Life responds that Cal Civ. Code § 1780(a) speaks for itself as
10   to its contents.
11          131. Minnesota Life responds that Cal Civ. Code § 1780(b)(1) speaks for itself
12   as to its contents.
13          132. Minnesota Life responds that the demand letter attached as Exhibit A
14   speaks for itself as to its contents. Minnesota Life asserts that the remaining
15   allegations contained in paragraph 132 of the Complaint are legal arguments that do
16   not require a response.
17                             SEVENTH CLAIM FOR RELIEF
18      (UNFAIR BUSINESS PRACTICES IN VIOLATION OF BUS. AND PROF.
19   CODE SECTION 17200 BY ALL PLAINTIFFS AGAINST ALL DEFENDANTS
20                                    AND DOES 1 TO 10)
21          133. Minnesota Life incorporates by reference its responses to paragraph 1
22   through 132 of the Complaint as if set forth fully herein.
23          134. Minnesota Life denies the allegations made in paragraph 134 of the
24   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
25   information sufficient to respond to the remaining allegations contained in paragraph
26   134 of the Complaint and, on that basis, denies the allegations.
27
28

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 1         135. Paragraph 135 contains legal conclusions to which a response is neither
 2   appropriate nor required. To the extent a response is required, Minnesota Life denies
 3   the allegations contained in paragraph 135 of the Complaint.
 4         136. Paragraph 136 contains legal conclusions to which a response is neither
 5   appropriate nor required. To the extent a response is required, Minnesota Life denies
 6   the allegations contained in paragraph 136 of the Complaint.
 7                              EIGHTH CLAIM FOR RELIEF
 8          (COMMON LAW FRAUD BY ALL PLAINTIFFS AGAINST ALL
 9                             DEFENDANTS AND DOES 1 TO 10)
10         137. Minnesota Life incorporates by reference its responses to paragraph 1
11   through 136 of the Complaint as if set forth fully herein.
12         138. Minnesota Life denies the allegations made in paragraph 138 of the
13   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
14   information sufficient to respond to the remaining allegations contained in paragraph
15   138 of the Complaint and, on that basis, denies the allegations.
16         139. Minnesota Life denies the allegations made in paragraph 139 of the
17   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
18   information sufficient to respond to the remaining allegations contained in paragraph
19   139 of the Complaint and, on that basis, denies the allegations.
20         140. Minnesota Life denies the allegations contained in paragraph 140 of the
21   Complaint.
22         141. Minnesota Life is without knowledge or information sufficient to respond
23   to the allegations contained in paragraph 141 of the Complaint and, on that basis,
24   denies the allegations.
25         142. Minnesota Life denies the allegations made in paragraph 142 of the
26   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
27   information sufficient to respond to the remaining allegations contained in paragraph
28   142 of the Complaint and, on that basis, denies the allegations.

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 1         143. Minnesota Life denies the allegations made in paragraph 143 of the
 2   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
 3   information sufficient to respond to the remaining allegations contained in paragraph
 4   143 of the Complaint and, on that basis, denies the allegations.
 5         144. Paragraph 144 contains legal conclusions to which a response is neither
 6   appropriate nor required. To the extent a response is required, Minnesota Life denies
 7   the allegations contained in paragraph 144 of the Complaint.
 8         145. Paragraph 145 contains legal conclusions to which a response is neither
 9   appropriate nor required. To the extent a response is required, Minnesota Life denies
10   the allegations contained in paragraph 145 of the Complaint.
11         146. Paragraph 146 contains legal conclusions to which a response is neither
12   appropriate nor required. To the extent a response is required, Minnesota Life denies
13   the allegations contained in paragraph 146 of the Complaint.
14                              NINTH CLAIM FOR RELIEF
15         (CONSTRUCTIVE FRAUD BY ALL PLAINTIFFS AGAINST ALL
16                           DEFENDANTS AND DOES 3 TO 7)
17         147. Minnesota Life incorporates by reference its responses to paragraph 1
18   through 146 of the Complaint as if set forth fully herein.
19         148. Minnesota Life denies the allegations made in paragraph 148 of the
20   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
21   information sufficient to respond to the remaining allegations contained in paragraph
22   148 of the Complaint and, on that basis, denies the allegations.
23         149. Minnesota Life denies the allegations made in paragraph 149 of the
24   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
25   information sufficient to respond to the remaining allegations contained in paragraph
26   149 of the Complaint and, on that basis, denies the allegations.
27         150. Minnesota Life denies the allegations made in paragraph 150 of the
28   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or

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 1   information sufficient to respond to the remaining allegations contained in paragraph
 2   150 of the Complaint and, on that basis, denies the allegations.
 3         151. Minnesota Life denies the allegations made in paragraph 151 of the
 4   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
 5   information sufficient to respond to the remaining allegations contained in paragraph
 6   151 of the Complaint and, on that basis, denies the allegations.
 7         152. Minnesota Life is without knowledge or information sufficient to respond
 8   to the allegations contained in paragraph 152 of the Complaint and, on that basis,
 9   denies the allegations.
10         153. Minnesota Life denies the allegations made in paragraph 153 of the
11   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
12   information sufficient to respond to the remaining allegations contained in paragraph
13   153 of the Complaint and, on that basis, denies the allegations.
14         154. Paragraph 154 contains legal conclusions to which a response is neither
15   appropriate nor required. To the extent a response is required, Minnesota Life denies
16   the allegations contained in paragraph 154 of the Complaint.
17         155. Paragraph 155 contains legal conclusions to which a response is neither
18   appropriate nor required. To the extent a response is required, Minnesota Life denies
19   the allegations contained in paragraph 155 of the Complaint.
20         156. Paragraph 156 contains legal conclusions to which a response is neither
21   appropriate nor required. To the extent a response is required, Minnesota Life denies
22   the allegations contained in paragraph 156 of the Complaint.
23                              TENTH CLAIM FOR RELIEF
24     (NEGLIGENT MISREPRESENTATION BY ALL PLAINITFFS AGAINST
25                        ALL DEFENDANTS AND DOES 1 TO 10)
26         157. Minnesota Life incorporates by reference its responses to paragraph 1
27   through 156 of the Complaint as if set forth fully herein.
28

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 1         158. Minnesota Life denies the allegations made in paragraph 158 of the
 2   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
 3   information sufficient to respond to the remaining allegations contained in paragraph
 4   158 of the Complaint and, on that basis, denies the allegations.
 5         159. Minnesota Life denies the allegations made in paragraph 159 of the
 6   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
 7   information sufficient to respond to the remaining allegations contained in paragraph
 8   159 of the Complaint and, on that basis, denies the allegations.
 9         160. Minnesota Life denies the allegations contained in paragraph 160 of the
10   Complaint.
11         161. Minnesota Life is without knowledge or information sufficient to respond
12   to the allegations contained in paragraph 161 of the Complaint and, on that basis,
13   denies the allegations.
14         162. Minnesota Life denies the allegations made in paragraph 162 of the
15   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
16   information sufficient to respond to the remaining allegations contained in paragraph
17   162 of the Complaint and, on that basis, denies the allegations.
18         163. Minnesota Life denies the allegations made in paragraph 163 of the
19   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
20   information sufficient to respond to the remaining allegations contained in paragraph
21   163 of the Complaint and, on that basis, denies the allegations.
22         164. Minnesota Life denies the allegations made in paragraph 164 of the
23   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
24   information sufficient to respond to the remaining allegations contained in paragraph
25   164 of the Complaint and, on that basis, denies the allegations.
26         165. Minnesota Life denies the allegations made in paragraph 165 of the
27   Complaint relating to Minnesota Life. Minnesota Life is without knowledge or
28

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 1   information sufficient to respond to the remaining allegations contained in paragraph
 2   165 of the Complaint and, on that basis, denies the allegations.
 3         166. Paragraph 166 contains legal conclusions to which a response is neither
 4   appropriate nor required. To the extent a response is required, Minnesota Life denies
 5   the allegations contained in paragraph 166 of the Complaint.
 6         167. Paragraph 167 contains legal conclusions to which a response is neither
 7   appropriate nor required. To the extent a response is required, Minnesota Life denies
 8   the allegations contained in paragraph 167 of the Complaint.
 9         168. Paragraph 168 contains legal conclusions to which a response is neither
10   appropriate nor required. To the extent a response is required, Minnesota Life denies
11   the allegations contained in paragraph 168 of the Complaint.
12                           ELEVENTH CLAIM FOR RELIEF
13    (NEGLIGENCE BY ALL PLAINTIFFS AGAINST ALL DEFENDANTS AND
14                                       DOES 1 TO 10)
15         169. Minnesota Life incorporates by reference its responses to paragraph 1
16   through 168 of the Complaint as if set forth fully herein.
17         170. Paragraph 170 contains legal conclusions to which a response is neither
18   appropriate nor required. To the extent a response is required, Minnesota Life denies
19   the allegations contained in paragraph 170 of the Complaint.
20         171. Paragraph 171 contains legal conclusions to which a response is neither
21   appropriate nor required. To the extent a response is required, Minnesota Life denies
22   the allegations contained in paragraph 171 of the Complaint.
23         172. Paragraph 172 contains legal conclusions to which a response is neither
24   appropriate nor required. To the extent a response is required, Minnesota Life denies
25   the allegations contained in paragraph 172 of the Complaint.
26         173. Paragraph 173 contains legal conclusions to which a response is neither
27   appropriate nor required. To the extent a response is required, Minnesota Life denies
28   the allegations contained in paragraph 173 of the Complaint.

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 1          174. Paragraph 174 contains legal conclusions to which a response is neither
 2   appropriate nor required. To the extent a response is required, Minnesota Life denies
 3   the allegations contained in paragraph 174 of the Complaint.
 4                            TWELFTH CLAIM FOR RELIEF
 5        (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS BY ALL
 6          PLAINTIFFS AGAINST ALL DEFENDANTS AND DOES 1 TO 10)
 7          175. Minnesota Life incorporates by reference its responses to paragraph 1
 8   through 174 of the Complaint as if set forth fully herein.
 9          176. Paragraph 176 contains legal conclusions to which a response is neither
10   appropriate nor required. To the extent a response is required, Minnesota Life denies
11   the allegations contained in paragraph 176 of the Complaint.
12          177. Paragraph 177 contains legal conclusions to which a response is neither
13   appropriate nor required. To the extent a response is required, Minnesota Life denies
14   the allegations contained in paragraph 177 of the Complaint.
15          178. Paragraph 178 contains legal conclusions to which a response is neither
16   appropriate nor required. To the extent a response is required, Minnesota Life denies
17   the allegations contained in paragraph 178 of the Complaint.
18          179. Paragraph 179 contains legal conclusions to which a response is neither
19   appropriate nor required. To the extent a response is required, Minnesota Life denies
20   the allegations contained in paragraph 179 of the Complaint.
21                                  PRAYER FOR RELIEF
22          Minnesota Life denies that Plaintiffs are entitled to the relief requested or to any
23   relief at all.
24
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         DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1                               AFFIRMATIVE DEFENSES

 2         Minnesota Life asserts the following affirmative defenses:
 3
                              FIRST AFFIRMATIVE DEFENSE
 4
                              (Failure to State a Cause of Action)
 5
           1.     The Complaint fails to state a claim upon which relief may be granted.
 6
 7
                            SECOND AFFIRMATIVE DEFENSE
 8
                                          (No Damages)
 9
           2.     Plaintiffs’ claims are barred, in whole or in part, because the Minnesota
10
     Life insurance policies purchased by the Plaintiffs have performed as promised, and
11
     they have sustained no injury in fact or damages caused by any act of Minnesota Life.
12
13
                             THIRD AFFIRMATIVE DEFENSE
14
                                      (Lack of Knowledge)
15
           3.     Minnesota Life did not know and, in the exercise of reasonable care,
16
     could not have known about the existence of the unlawful acts alleged in the
17
     Complaint to have been committed by Albert Andrew Manfre, Jeannette Manfre, and
18
     Matthew Lee Bieser.
19
20
                            FOURTH AFFIRMATIVE DEFENSE
21
                               (Negligence or Conduct of Others)
22
           4.     If Plaintiffs suffered or sustained any loss, injury, damage or detriment,
23
     the same was directly and proximately caused and contributed to by the breach,
24
     conduct, acts, omissions, activities, carelessness, recklessness, negligence, and/or
25
     intentional misconduct of others, and not by Minnesota Life.
26
27
28

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        DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1                            FIFTH AFFIRMATIVE DEFENSE
 2                                      (Fault of Plaintiffs)
 3           5.   If Plaintiffs suffered or sustained any loss, injury, damage or detriment,
 4   the same was directly and proximately caused and contributed to by the breach,
 5   conduct, acts, omissions, activities, carelessness, recklessness, negligence, and/or
 6   intentional misconduct of Plaintiffs themselves, and not Minnesota Life.
 7
 8                            SIXTH AFFIRMATIVE DEFENSE
 9                                      (Intervening Acts)
10           6.   The damages complained of were the result of the intervening actions of
11   others and were not proximately caused by the actions or omissions of Minnesota
12   Life.
13
14                          SEVENTH AFFIRMATIVE DEFENSE
15                                    (Assumption of Risk)
16           7.   Plaintiffs’ claims are barred, in whole or in part, by the principles of
17   assumption of risk because they knew about the risks and voluntarily undertook the
18   risks that led to the injuries alleged in the Complaint.
19
20                           EIGHTH AFFIRMATIVE DEFENSE
21                                (Lack of Vicarious Liability)
22           8.   The Complaint fails to state facts sufficient to constitute a cause of action
23   against Minnesota Life because it is not vicariously liable for any alleged wrongful
24   acts committed by Albert Andrew Manfre, Jeannette Manfre, and Matthew Lee
25   Bieser, which were not committed within the course and scope of their limited agency
26   role as to Minnesota Life.
27
28

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        DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
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 1                            NINTH AFFIRMATIVE DEFENSE
 2                                         (No Control)
 3         9.      The Complaint fails to state facts sufficient to constitute a claim against
 4   Minnesota Life because Minnesota Life did not routinely control or direct the manner
 5   in which Albert Andrew Manfre, Jeannette Manfre, or Matthew Lee Bieser performed
 6   their work.
 7
 8                            TENTH AFFIRMATIVE DEFENSE
 9                                           (No Duty)
10         10.     Minnesota Life owed no duty of care to Plaintiffs to control the alleged
11   conduct of Albert Andrew Manfre, Jeannette Manfre, or Matthew Lee Bieser to the
12   extent they acted outside the scope of their limited agency role as to Minnesota Life.
13
14                         ELEVENTH AFFIRMATIVE DEFENSE
15                                    (No Foreseeable Risk)
16         11.     Minnesota Life did not know and, in the exercise of reasonable care,
17   could not have known that Albert Andrew Manfre, Jeannette Manfre, and Matthew
18   Lee Bieser posed a foreseeable risk of harm to Plaintiffs.
19
20                          TWELFTH AFFIRMATIVE DEFENSE
21                                        (No Causation)
22         12.     The Complaint fails to show that any alleged acts or omissions of
23   Minnesota Life caused the injuries or damages claimed by Plaintiffs.
24
25                        THIRTEENTH AFFIRMATIVE DEFENSE
26                                (Failure to Mitigate Damages)
27         13.     Plaintiffs are barred from relief for their claims because they have failed
28   to take reasonable and necessary steps to mitigate their alleged damages.

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 1                        FOURTEENTH AFFIRMATIVE DEFENSE
 2                                            (Estoppel)
 3         14.      Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine
 4   of estoppel.
 5
 6                           FIFTEENTH AFFIRMATIVE DEFENSE
 7                                             (Waiver)
 8         15.      Plaintiffs, by their words, conduct and agreements, have waived the
 9   claims set forth in the Complaint.
10
11                           SIXTEENTH AFFIRMATIVE DEFENSE
12                           (Consent, Ratification or Acquiescence)
13         16.      Plaintiffs consented to, approved, ratified or acquiesced to the acts and
14   omissions about which they now complain, and, therefore, they are barred from
15   pursuing this action.
16
17                           SEVENTEENTH AFFIRMATIVE DEFENSE
18                                     (Excuse/Justification)
19         17.      The acts and omissions of Minnesota Life, if any, were excused and/or
20   justified by the information and facts available to Minnesota Life at the time such acts
21   and omissions, if any, occurred.
22
23                         EIGHTEENTH AFFIRMATIVE DEFENSE
24                                          (Good Faith)
25         18.      Minnesota Life acted in good faith and has reasonable grounds for
26   believing that its conduct did not violate any law and, in fact, Minnesota Life’s
27   conduct did not violate any law.
28

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 1                        NINETEENTH AFFIRMATIVE DEFENSE
 2                                      (Compliance with Law)
 3         19.    Minnesota Life’s conduct and activities were in compliance with
 4   applicable Federal and State law.
 5
 6                         TWENTIETH AFFIRMATIVE DEFENSE
 7                                          (Contribution)
 8         20.    Any harm alleged can be attributed to several causes, and the damages
 9   for this harm, if any, should be apportioned among the various causes according to the
10   contribution of each cause to the harm sustained.
11
12                      TWENTY-FIRST AFFIRMATIVE DEFENSE
13                        (Failure to Plead Fraud With Particularity)
14         21.    Plaintiffs have failed to plead allegations of fraud or deception with the
15   specificity or detail required.
16
17                     TWENTY-SECOND AFFIRMATIVE DEFENSE
18                                     (Conduct Not “Unlawful”)
19         22.    Minnesota Life does not engage in any unlawful practice as alleged in
20   Plaintiffs’ Complaint.
21
22                         TWENTY-THIRD AFFIRMATIVE DEFENSE
23                                      (Conduct Not “Unfair”)
24         23.    Minnesota Life’s legitimate business practices are not “unfair” within the
25   meaning of Business & Professions Code section 17200.
26
27
28

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 1                        TWENTY-FOURTH AFFIRMATIVE DEFENSE
 2                    (Conduct Not “Fraudulent” nor “Likely to Mislead”)
 3         24.    Minnesota Life’s practices are neither fraudulent nor likely to mislead.
 4
 5                      TWENTY-FIFTH AFFIRMATIVE DEFENSE
 6                                 (Adequate Remedy at Law)
 7         25.    Plaintiffs’ claims, and each of them, and their request for injunctive relief
 8   are barred in light of the fact that Plaintiffs have an adequate remedy in that by their
 9   terms, the claims of harm by Plaintiffs are monetary in nature and involve alleged
10   financial loss. All of the allegations, if true, could be compensated by readily
11   ascertainable damages.
12
13                      TWENTY-SIXTH AFFIRMATIVE DEFENSE
14                                   (No Punitive Damages)
15         26.    The Complaint fails to state facts sufficient to recover punitive or
16   exemplary damages.
17
18                     TWENTY-SEVENTH AFFIRMATIVE DEFENSE
19                            (Punitive Damages Unconstitutional)
20         27.    Plaintiffs are not entitled to recover punitive damages because the
21   imposition of such damages violates the United States and California Constitutions, in
22   that the imposition of such damages would violate Minnesota Life’s rights to due
23   process and/or equal protection under the law, under the United States and California
24   Constitutions.
25
26
27
28

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 1                     TWENTY-EIGHTH AFFIRMATIVE DEFENSE
 2                                    (Corrective Measures)
 3          28.    Plaintiffs’ Complaint fails because Minnesota Like took appropriate
 4   corrective measures or promised to take corrective measures within a reasonable time
 5   within 30 days of receiving notice from Plaintiffs.
 6
 7                      TWENTY-NINTH AFFIRMATIVE DEFENSE
 8                                       (Other Defenses)
 9          29.    Minnesota Life specifically gives notice that it intends to rely upon such
10   other defenses as may become available by law or pursuant to statute or may be
11   revealed by discovery proceedings in this case and hereby reserves the right to amend
12   the Answer to assert such defenses.
13
14                                  REQUEST FOR RELIEF

15   WHEREFORE, Minnesota Life prays for judgment as follows:
16
     1.     The Complaint be dismissed with prejudice;
17
18   2.     The Court enters judgment for Minnesota Life as to any and all matters;

19   2.     Minnesota Life be awarded its attorneys’ fees and costs according to proof; and
20
     4.     For such other and further relief as this Court may deem just and proper.
21
22   DATED: August 8, 2018            ROBERT D. PHILLIPS
                                      KATHY J. HUANG
23                                    GILLIAN H. CLOW
                                      ALSTON & BIRD LLP
24
25                                    /s/ Gillian H. Clow
                                      Gillian H. Clow
26                                    Attorneys for Defendant
                                      MINNESOTA LIFE INSURANCE COMPANY
27
28

                                               29
          DEFENDANT MINNESOTA LIFE INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’ COMPLAINT
